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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 DALLAS MCINTOSH, #B85114                         )
                                                  )
                Plaintiff,                        )
                                                  )
 vs.                                              )           Case No. 17ícv–0103íNJR
                                                  )
 WEXFORD HEALTH SOURCES, INC.,                    )
 NANCY KEEN,                                      )
 JANA REUTER,                                     )
 DEBRA HALE,                                      )
 BARBARA RODRIGUEZ,                               )
 NURSE PAULA,                                     )
 BRITTANY FORTAG,                                 )
 ST. CLAIR COUNTY,                                )
 RICHARD WATSON,                                  )
 PHILIP MCLAURIN,                                 )
 NANCY SUTHERLIN,                                 )
 DANTE BEATTIE,                                   )
 MIKE RIPPERDA,                                   )
 THOMAS MESEY,                                    )
 CHRIS LAZANTE,                                   )
 MATTHEW GREEN,                                   )
 RICHARD REED,                                    )
 COREY HARRIS,                                    )
 JON KNYFF,                                       )
 C/O COMPTON,                                     )
 PATRICK FULTON,                                  )
 NICOLE LEIBIG, and                               )
 STEVE STRUBBERG,                                 )
                                                  )
                Defendants.                       )

                              MEMORANDUM AND ORDER

 ROSENSTENGEL, District Judge:

        Plaintiff Dallas McIntosh, an inmate in Menard Correctional Center, brings this action for

 deprivations of his constitutional rights pursuant to 42 U.S.C. § 1983. In his Complaint, Plaintiff

 claims the defendants were deliberately indifferent to his serious medical issues and failed to




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 protect him from harming himself during his time at St. Clair County Jail, in violation of the

 Fourteenth Amendment. (Doc. 1). This case is now before the Court for a preliminary review of

 the Complaint pursuant to 28 U.S.C. § 1915A, which provides:

               (a) Screening – The court shall review, before docketing, if feasible or, in
        any event, as soon as practicable after docketing, a complaint in a civil action in
        which a prisoner seeks redress from a governmental entity or officer or employee
        of a governmental entity.
               (b) Grounds for Dismissal – On review, the court shall identify
        cognizable claims or dismiss the complaint, or any portion of the complaint, if the
        complaint–
                       (1) is frivolous, malicious, or fails to state a claim on which relief
               may be granted; or
                       (2) seeks monetary relief from a defendant who is immune from
               such relief.

        An action or claim is frivolous if “it lacks an arguable basis either in law or in fact.”

 Neitzke v. Williams, 490 U.S. 319, 325 (1989). Frivolousness is an objective standard that refers

 to a claim that any reasonable person would find meritless. Lee v. Clinton, 209 F.3d 1025, 1026-

 27 (7th Cir. 2000). An action fails to state a claim upon which relief can be granted if it does not

 plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 570 (2007). The claim of entitlement to relief must cross “the line

 between possibility and plausibility.” Id. at 557. At this juncture, the factual allegations of the

 pro se complaint are to be liberally construed. See Rodriguez v. Plymouth Ambulance Serv., 577

 F.3d 816, 821 (7th Cir. 2009).

                                           The Complaint

        In his Complaint (Doc. 1), Plaintiff makes the following allegations: at all relevant times,

 Plaintiff was a pre-trial detainee in custody at the St. Clair County Jail. (Doc. 1, p. 2). On or

 about October 10, 2013, Plaintiff was transported to the St. Clair County Jail from St. Louis

 University Hospital to await trial. (Doc. 1, p. 5). Plaintiff was listed in poor physical condition




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 because he had recently had surgery for gunshot wounds, had upwards of twenty surgical staples

 in his abdomen, had a drain attached to his body, was urinating blood, and was forced to depend

 on a walked and wheelchair for mobility. Id. Because of these medical issues, Plaintiff was

 housed in the infirmary under the care of nurses and assigned correctional officers. Id. Plaintiff

 suffered great physical pain and discomfort during this time, and he was also severely depressed

 and stressed. (Doc. 1, p. 6).

        On February 8, 2013, Plaintiff’s bunk and property were searched, and a corrections

 officer discovered a suicide note, which was addressed to Plaintiff’s friends and family members;

 in it, Plaintiff expressed the intent to end his life. Id. Plaintiff was then moved to the suicide

 watch room and placed in a suicide restraint chair. Id. Nurse Nancy Keen was on duty when the

 suicide note was discovered, and she was personally responsible for securing Plaintiff in the

 restraint chair and checking the restraints. Id. McLaurin also was aware of Plaintiff’s

 circumstances and personally informed Plaintiff’s family of the note. (Doc. 1, p. 7). Plaintiff was

 eventually released from suicide watch to his previous housing in the infirmary. Id.

        In the days immediately following Plaintiff’s return to the infirmary, Keen began to give

 a variety of prescription pills to Plaintiff during the times she was responsible for dispensing pills

 to the other detainees, as well as on other occasions. Id. Keen instructed Plaintiff on how to take

 the pills with respect to which pills, in what combinations, and at what time. Id. Keen told

 Plaintiff the pills would make him feel better. Id. These pills likely included sleeping pills,

 anxiety and depression pills, pain killers, and opioids. (Doc. 1, p. 8). Plaintiff became heavily

 addicted to the medication, so Keen gave him more pills in greater strengths and provided him

 with excess pills so that he could last between her shifts. Id. This occasionally included several

 days-worth of pills at once being given to Plaintiff. Id. Keen suggested Plaintiff put the pills up,




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 or conceal them from the correctional staff, when she gave him extra. Id.

        During the first six weeks of Plaintiff’s prescription pill regimen, Plaintiff frequently

 experienced excruciating headaches, severe stomach pain, diarrhea, cramps, and nausea, which

 caused him to violently vomit, sometimes with blood, leaving his throat and esophagus painfully

 raw. Id. Plaintiff felt feelings of confusion, grief, depression, sadness, and anger; he also suffered

 mood swings and had increased and constant thoughts of suicide. Id. Plaintiff slept 16-18 hours

 per day in a state of narcosis, to the point where McLaurin, on at least one occasion, asked the

 other detainees if Plaintiff was “even alive.” (Doc. 1, pp. 8, 14). Plaintiff missed 2-3 meal trays

 per day due to his drowsiness and the medicine’s suppression of his appetite. (Doc. 1, p. 8).

 Plaintiff suffered abrupt weight loss, causing him to be placed on a high-calorie diet by the jail

 physician. (Doc. 1, p. 9). Plaintiff was kept in this drug-induced state, completely addicted to the

 medication, for almost six consecutive months. Id. The corrections officers assigned to the

 infirmary witnessed Plaintiff’s behavior, and instead of assisting him, eventually stopped trying

 to wake Plaintiff up during meal times and gave away his meal trays to other detainees. Id.

        On August 4, 2013, a shakedown of the infirmary supervised by Lieutenant Nancy

 Sutherlin took place. Id. Corrections Officer Chris Lazante searched Plaintiff’s bunk and

 possessions and discovered multiple bundles of various pills, including Trazedone, Lortab,

 Phenegren, and Tramadol. (Doc. 1, pp. 9-10). In total, 55 prescription pills were located in

 Plaintiff’s property. (Doc. 1, p. 10). Nurse Barbara Rodriguez examined the pills and advised

 Sutherlin that Plaintiff was not prescribed any of them, nor were some of them from the Wexford

 formulary. Id. Keen and Rodriguez, the on-duty nurses at the time the pills were discovered, did

 not screen Plaintiff for suicidal ideation at this time. Id. Instead, McLaurin ordered Plaintiff be

 placed in punitive segregation, so Sutherlin, Lazante, Beattie, and Fulton moved him to cell




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 block “F-Max” into a cell that was not suicide-proof. (Doc. 1, pp. 10-11, 14). These defendants

 allowed Plaintiff to keep his mattress from the infirmary, which contained another bundle of

 pills. (Doc. 1, p. 11). Plaintiff immediately sent a grievance explaining that he was given the pills

 over a period of several months. Id. Plaintiff also requested to speak to someone. Id.

        Plaintiff could not think straight given he was still affected by the pills. Id. He became

 increasingly depressed as the evening wore on, so he took more pills and started to contemplate

 suicide. Id. Plaintiff took the rest of the 10-15 pills and attempted to hang himself using a sheet

 as a rope. Id. The sheet came loose, causing Plaintiff to fall and strike his head on the bed frame

 and floor. Id. His head ached, his vision blurred, and he was very dizzy from the fall. Id. Plaintiff

 began to vomit violently, felt chest pains, and struggled to catch his breath. Id. Plaintiff then lost

 consciousness for several hours. Id. The assigned officers failed to regularly monitor or conduct

 a wellness check of Plaintiff during this time, which would have revealed that Plaintiff was

 unconscious. (Doc. 1, p. 16). Plaintiff believes the pills influenced him to attempt to overdose

 and hang himself, as he had never taken any actual, physical steps toward suicide before taking

 them. (Doc. 1, p. 12).

        Several days later, Steve Strubberg informed Plaintiff that he was under criminal

 investigation concerning the pills that were discovered with his property. Id. Strubberg also told

 Plaintiff that he and the other defendants, given the discovery of the pills, realized why Plaintiff

 had been sleeping all the time and barely eating. Id. Plaintiff told Strubberg the situation was not

 his fault and that he wanted to file a grievance, but Strubberg told him that the first step in the

 grievance process would be the completion of the criminal investigation. (Doc. 1, pp. 12-13).

 Without medication, Plaintiff began to suffer from withdrawal symptoms, including panic

 attacks, profuse sweating, vomiting, diarrhea, headaches, and urinating in his sleep. (Doc. 1,




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 p. 13). Plaintiff also suffered alternative feelings of stress, anger, sadness, depression, fear, and

 anxiety. Id. This caused Plaintiff to have stomach pain and queasiness, feelings of weakness,

 emotional fatigue, nervousness, trembling, and paranoia. Id.

        Plaintiff claims that, despite the higher rate of suicides in jails than among individuals in

 the general population, St. Clair County has no formal policies or procedures with respect to

 suicide prevention, leaving jail employees without the training or resources needed to

 sufficiently monitor and protect detainees who are at risk of suicide. (Doc. 1, pp. 14-15). Plaintiff

 notes, however, that St. Clair County Jail employees do take one eight hour course on the

 subject. (Doc. 1, p. 15). Plaintiff also claims that Wexford Health and St. Clair County Jail’s

 administration have failed to implement a policy of keeping count of prescription medication to

 ensure medications are only distributed in appropriate amounts to inmates who have

 prescriptions. Id. Plaintiff further alleges that the employees of the jail are not adequately trained

 in the handling of prescription medications—as they only take a single one-hour course on the

 subject. Id. As proof, Plaintiff offers the names of several detainees who lost their lives due to

 suicide while at St. Clair County Jail, and he alleges that suicide-prevention rooms are

 unavailable to inmates who need them because corrections officers use them to privately assault

 detainees. (Doc. 1, p. 17). Sheriff Richard Watson is allegedly aware of all of this and, instead of

 remedying it, has turned a blind eye and deliberately failed to take action to resolve these issues.

 Id. According to Plaintiff, this lack of procedures, regulations, policies, and adequate training

 caused his injuries and resulted in the violation of his rights. (Doc. 1, p. 15).

        Plaintiff also alleges that in October 2014, Keen was caught providing non-prescribed

 pills and contraband to another detainee, at which point she was investigated, fired, and banned

 from St. Clair County Jail. (Doc. 1, p. 18). Plaintiff claims that, during the investigation, Keen




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 confessed to having supplied the pills found in Plaintiff’s possession on August 4, 2013. Id.

 Plaintiff claims that Wexford failed to provide adequate training and supervision to its medical

 and mental health care staff at the jail and also failed to adequately screen the nurses prior to

 hiring them. Id. He believes Keen was a recreational prescription pill user, as was at least one

 other Wexford nurse who was terminated for abusing the prescription medication under the

 medical staff’s control. Id.

                                              Discussion

        Based on the allegations of the Complaint, the Court finds it convenient to designate the

 following three counts in this pro se action. The parties and the Court will use these designations

 in all future pleadings and orders, unless otherwise directed by a judicial officer of this Court.

        Count 1 –       The individual defendants were deliberately indifferent to
                        Plaintiff’s serious medical needs and failed to protect Plaintiff
                        from attempting to commit suicide and becoming addicted to non-
                        prescribed prescription drugs in violation of the Fourteenth
                        Amendment.

        Count 2 –       Wexford Health showed deliberate indifference to Plaintiff’s
                        serious medical needs by having a policy of providing inadequate
                        suicide prevention and prescription handling training to employees,
                        failing to supervise employees and fully vet candidates during the
                        hiring process, and failing to maintain procedural safeguards to
                        monitor prescription pills at St. Clair County Jail in violation of the
                        Fourteenth Amendment.

        Count 3 –       St. Clair County and Richard Watson, in his official capacity as St.
                        Clair County Sheriff, espoused a policy of deliberate indifference
                        toward inmates, including Plaintiff, by failing to provide training
                        and supervision of employees to handle suicide-risk inmates and
                        prescription medication and allowing an “unwritten policy” of
                        employees mishandling suicide-risk detainees in violation of the
                        Fourteenth Amendment.

        As discussed in more detail below, Counts 1, 2, and 3 will be allowed to proceed past

 threshold. Any other intended claim that has not been recognized by the Court is considered




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 dismissed with prejudice as inadequately pleaded under the Twombly pleading standard.

                                              Count 1

        It is well established that, while in the custody of state or local authorities, a pretrial

 detainee must be afforded certain protections under the Fourteenth Amendment, including access

 to adequate medical care. See City of Revere v. Massachusetts Gen. Hosp., 463 U.S. 239, 244,

 (1983); Payne v. Churchich, 161 F.3d 1030, 1040-41 (7th Cir. 1998). These due process rights

 are at least as great as the protections afforded a convicted prisoner under the Eighth

 Amendment. See Higgins v. Corr. Med. Servs. of Ill., Inc., 178 F.3d 508, 511 (7th Cir. 1999);

 Estate of Cole v. Fromm, 94 F.3d 254, 259 n.1 (7th Cir.1996). Consequently, when considering a

 pretrial detainee’s claim of inadequate medical care, for example, it is appropriate for a court to

 look to the analogous standards of Eighth Amendment jurisprudence. See Qian v. Kautz, 168

 F.3d 949, 955 (7th Cir. 1999).

        A prisoner raising a claim against a prison official for deliberate indifference to the

 prisoner’s serious medical needs must satisfy two requirements. The first requirement compels

 the prisoner to satisfy an objective standard: “[T]he deprivation alleged must be, objectively,

 ‘sufficiently serious[.]’” Farmer v. Brennan, 511 U.S. 825, 834 (1994) (quoting Wilson v. Seiter,

 501 U.S. 294, 298 (1991)). Thus, “a prison official’s act or omission must result in the denial of

 ‘the minimal civilized measure of life’s necessities.’” Id. (quoting Rhodes v. Chapman, 452 U.S.

 337, 347 (1981)). The second requirement involves a subjective standard: “[A] prison official

 must have a ‘sufficiently culpable state of mind,’” one that amounts to “‘deliberate indifference’

 to inmate health or safety.” Id. (quoting Wilson, 501 U.S. at 297). Liability under the deliberate-

 indifference standard requires more than negligence, gross negligence or even recklessness;

 rather, it is satisfied only by conduct that approaches intentional wrongdoing, i.e., “something




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 less than acts or omissions for the very purpose of causing harm or with knowledge that harm

 will result.” Farmer, 511 U.S. at 835.

        “An objectively serious medical need is ‘one that has been diagnosed by a physician as

 mandating treatment or one that is so obvious that even a lay person would easily recognize the

 necessity for a doctor’s attention.’” Wynn v. Southward, 251 F.3d 588, 593 (7th Cir. 2001)

 (quoting Zentmyer v. Kendall County, Ill., 220 F.3d 805, 810 (7th Cir. 2000)) (quotation

 omitted). Suicide, attempted suicide and other acts of self-harm clearly pose a “serious” risk to

 an inmate’s health and safety, and may provide the foundation for deliberate indifference to

 medical needs and failure to protect claims. See Collins, 462 F.3d at 760 (quoting Sanville v.

 McCaughtry, 266 F.3d 724, 733 (7th Cir. 2001)); see also Rice ex rel. Rice v. Corr. Med. Servs.,

 675 F.3d 650, 665 (7th Cir. 2012) (“[P]rison officials have an obligation to intervene when they

 know a prisoner suffers from self-destructive tendencies.”). At the same time, courts have

 recognized that “[s]uicide is inherently difficult for anyone to predict, particularly in the

 depressing prison setting.” Domino v. Texas Dep't of Criminal Justice, 239 F.3d 752, 756 (5th

 Cir. 2001); see also Collignon v. Milwaukee Cty., 163 F.3d 982, 990 (7th Cir. 1998) (“No one

 can predict suicide with any level of certainty[.]”). Where the harm at issue is a suicide or

 attempted suicide, deliberate indifference requires “a dual showing that the defendant: (1)

 subjectively knew the prisoner was at substantial risk of committing suicide and (2) intentionally

 disregarded that risk.” Collins, 462 F.3d at 761 (citations omitted).

        Notably, 42 U.S.C. § 1983 “creates a cause of action based on personal liability and

 predicated upon fault; thus, liability does not attach unless the individual defendant caused or

 participated in a constitutional deprivation.” Sheik–Abdi v. McClellan, 37 F.3d 1240, 1248 (7th

 Cir. 1994). Correspondingly, a Section 1983 plaintiff must make allegations that associate




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 specific defendants with specific claims, so the defendants are put on notice of the claims

 brought against them and so they can properly answer the complaint. Hoskins v. Poelstra, 320

 F.3d 761, 764 (7th Cir. 2003).

        Plaintiff has made specific allegations sufficiently tying defendants Keen, McLaurin, and

 Rodriguez to his failure to protect and deliberate indifference to medical needs claims, at least at

 this stage. Plaintiff’s risk for suicide constituted a serious risk to his health and safety and

 therefore satisfies the objective component of Plaintiff’s claims. The subjective component was

 also satisfied with respect to these three defendants. Both Keen and McLaurin were present for

 and/or aware of the discovery of Plaintiff’s original suicide note. Both were also present for

 and/or aware of the discovery of the pill bundles with Plaintiff’s personal property later on. Keen

 allegedly illegally provided Plaintiff with the pills he became addicted to and ultimately

 attempted to overdose with. McLaurin, though he was not necessarily aware Keen had given

 Plaintiff the pills, was aware that Plaintiff had been deemed a suicide risk in the past, had

 commented on Plaintiff’s extreme lethargy after he came off of suicide watch, and knew Plaintiff

 was discovered with bundles of pills after all that. Despite this knowledge, McLaurin ordered

 Plaintiff be housed in punitive segregation, where Plaintiff’s cell was not suicide-proof.

 Rodriguez was also allegedly on duty when the pill bundles were discovered, noted that Plaintiff

 had not been prescribed any of the pills, and was aware that Plaintiff had threatened suicide

 before. Instead of screening Plaintiff for suicidal ideation, Rodriguez allegedly did nothing.

 Plaintiff has therefore stated a claim under Count 1, at least at this stage, against Keen,

 McLaurin, and Rodriguez.

        Plaintiff’s Complaint is devoid of specific allegations sufficiently linking the remaining

 individual defendants to violations of Plaintiff’s constitutional rights. Though Plaintiff makes




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 general claims that “defendants knew Plaintiff was a suicide risk” and “failed to take any

 measures to monitor and protect him,” these claims are not supported by any more specific facts

 and instead appear to be mere conclusions. (Doc. 1, pp. 13, 16). Plaintiff and many other inmates

 seem to think that any prison employee who knows (or should know) about his problems has a

 duty to fix those problems. That theory is in direct conflict with the well-established rule that

 “public employees are responsible for their own misdeeds but not for anyone else’s.” Burks v.

 Raemisch, 555 F.3d 592, 596 (7th Cir. 2009). See also Monell v. Dep’t of Social Servs., 436 U.S.

 658 (1978); Sanville v. McCaughtry, 266 F.3d 724, 740 (7th Cir. 2001) (doctrine of respondeat

 superior does not apply to § 1983 actions). As Judge Easterbrook stated,

               Public officials do not have a free-floating obligation to put things
               to rights, disregarding rules (such as time limits) along the way.
               Bureaucracies divide tasks; no prisoner is entitled to insist that one
               employee do another’s job. The division of labor is important not
               only to bureaucratic organization but also to efficient performance
               of tasks; people who stay within their roles can get more work
               done, more effectively, and cannot be hit with damages under
               § 1983 for not being ombudsmen. Burks’s view that everyone who
               knows about a prisoner’s problem must pay damages implies that
               he could write letters to the Governor of Wisconsin and 999 other
               public officials, demand that every one of those 1,000 officials
               drop everything he or she is doing in order to investigate a single
               prisoner’s claims, and then collect damages from all 1,000
               recipients if the letter-writing campaign does not lead to better
               medical care. That can’t be right. The Governor, and for that
               matter the Superintendent of Prisons and the Warden of each
               prison, is entitled to relegate to the prison’s medical staff the
               provision of good medical care. See Durmer v. O’Carroll, 991
               F.2d 64 (3d Cir. 1993).

 Burks, 555 F.3d at 595.

        Plaintiff’s desire to hold Sheriff Watson liable for the actions of his subordinates under a

 theory of respondeat superior therefore must fail, as such a theory does not apply to § 1983

 actions. Further, because there is no indication the remaining individual defendants caused or




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 participated in the constitutional violations alleged in Count 1, Count 1 will not proceed against

 any defendants other than Keen, McLaurin, and Rodriguez.

                                              Count 2

        A corporation can be held liable for deliberate indifference only if it had a policy or

 practice that caused the alleged violation of a constitutional right. Woodward v. Corr. Med. Serv.

 of Ill., Inc., 368 F.3d 917, 927 (7th Cir. 2004). See also Jackson v. Ill. Medi-Car, Inc., 300 F.3d

 760, 766 n.6 (7th Cir. 2002) (private corporation is treated as though it were a municipal entity in

 a § 1983 action). Plaintiff has alleged that at least two of the individual defendants (Keen and

 Rodriguez) either acted or failed to act as a result of an official policy espoused by Wexford

 Health Sources of failing to train employees in suicide prevention and in the proper handling of

 prescription medication and failing to implement procedures to control the outflow of

 prescription medications. Plaintiff Keen also had access to Plaintiff despite her various alleged

 shortcomings due to an alleged practice of Wexford of failing to adequately screen applicants for

 employment. Therefore, Plaintiff’s claims under Count 2 against Wexford Health Sources cannot

 be dismissed at this stage.

                                              Count 3

        Governmental entities and officials cannot be held liable for the unconstitutional acts of

 their employees unless those acts were carried out pursuant to an official custom or policy.

 Pourghoraishi v. Flying J, Inc., 449 F.3d 751, 765 (7th Cir. 2006). See also Monell v. Dep’t of

 Soc. Servs., 436 U.S. 658, 694 (1978). “The ‘official policy’ requirement for liability under

 § 1983 is to ‘distinguish acts of the municipality from acts of employees of the municipality, and

 thereby make clear that municipal liability is limited to action for which the municipality is

 actually responsible.’” Estate of Sims ex rel. Sims v. Cty. of Bureau, 506 F.3d 509, 515 (7th Cir.




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 2007) (quoting Pembaur v. City of Cincinnati, 475 U.S. 469, 479 (1986)). See also Lewis v. City

 of Chicago, 496 F.3d 645, 656 (7th Cir. 2007) (“Misbehaving employees are responsible for their

 own conduct, ‘units of local government are responsible only for their policies rather than

 misconduct by their workers.’” (quoting Fairley v. Fermaint, 482 F.3d 897, 904 (7th Cir.

 2007))). “A governmental body’s policies must be the moving force behind the constitutional

 violation before we can impose liability under Monell.” Thomas v. Cook Cty. Sheriff’s Dep’t, 604

 F.3d 293, 306 (7th Cir. 2010).

        Construing the Complaint liberally, Plaintiff has alleged a St. Clair County policy,

 perpetuated by Watson in his official capacity as Sheriff, of undertraining employees in suicide

 prevention and the handling of prescription medications and turning a blind-eye to employee

 mistreatment of suicide-risk detainees. Plaintiff claims this resulted in his suicide attempt and

 harmful addiction to prescription drugs. Count 3 against St. Clair County and Watson therefore

 cannot be dismissed at this stage.

                                            Disposition

        IT IS HEREBY ORDERED that COUNT 1 shall PROCEED against KEEN,

 RODRIGUEZ, and MCLAURIN. This claim is DISMISSED without prejudice against all

 other defendants for failure to state a claim upon which relief may be granted.

        IT IS FURTHER ORDERED that COUNT 2 shall PROCEED against WEXFORD

 HEALTH SOURCES. This claim is DISMISSED without prejudice against all other

 defendants for failure to state a claim upon which relief may be granted.

        IT IS FURTHER ORDERED that COUNT 3 shall PROCEED against ST. CLAIR

 COUNTY and WATSON (official capacity). This claim is DISMISSED without prejudice

 against all other defendants for failure to state a claim upon which relief may be granted.




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        IT IS ORDERED that REUTER, HALE, PAULA, FORTAG, SUTHERLIN,

 BEATTIE, RIPPERDA, MESEY, LAZANTE, GREEN, REED, HARRIS, KNYFF,

 COMPTON, FULTON, LEIBIG, and STRUBBERG are DISMISSED without prejudice

 because the Complaint fails to state a claim for relief against these defendants.

        IT IS FURTHER ORDERED that as to COUNTS 1 through 3 the Clerk of Court shall

 prepare for KEEN, RODRIGUEZ, MCLAURIN, WEXFORD HEALTH SOURCES, ST.

 CLAIR COUNTY, and WATSON: (1) Form 5 (Notice of a Lawsuit and Request to Waive

 Service of a Summons), and (2) Form 6 (Waiver of Service of Summons). The Clerk is

 DIRECTED to mail these forms, a copy of the Complaint, and this Memorandum and Order to

 each defendant’s place of employment as identified by Plaintiff. If any defendant fails to sign

 and return the Waiver of Service of Summons (Form 6) to the Clerk within 30 days from the date

 the forms were sent, the Clerk shall take appropriate steps to effect formal service on that

 defendant, and the Court will require that defendant pay the full costs of formal service, to the

 extent authorized by the Federal Rules of Civil Procedure.

        With respect to a defendant who no longer can be found at the work address provided by

 Plaintiff, the employer shall furnish the Clerk with the defendant’s current work address, or, if

 not known, the defendant’s last-known address. This information shall be used only for sending

 the forms as directed above or for formally effecting service. Any documentation of the address

 shall be retained only by the Clerk. Address information shall not be maintained in the court file

 or disclosed by the Clerk.

        Plaintiff shall serve upon each defendant (or upon defense counsel once an appearance is

 entered) a copy of every pleading or other document submitted for consideration by the Court.

 Plaintiff shall include with the original paper to be filed a certificate stating the date on which a




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 true and correct copy of the document was served on the defendant or counsel. Any paper

 received by a district judge or magistrate judge that has not been filed with the Clerk or that fails

 to include a certificate of service will be disregarded by the Court.

        Defendants are ORDERED to timely file an appropriate responsive pleading to the

 Complaint and shall not waive filing a reply pursuant to 42 U.S.C. § 1997e(g).

        Pursuant to Local Rule 72.1(a)(2), this action is REFERRED to United States Magistrate

 Judge Donald G. Wilkerson for further pre-trial proceedings. Further, this entire matter shall be

 REFERRED to United States Magistrate Judge Donald G. Wilkerson for disposition, pursuant

 to Local Rule 72.2(b)(2) and 28 U.S.C. § 636(c), if all parties consent to such a referral.

        If judgment is rendered against Plaintiff, and the judgment includes the payment of costs

 under Section 1915, Plaintiff will be required to pay the full amount of the costs, despite the fact

 that his application to proceed in forma pauperis has been granted. See 28 U.S.C.

 § 1915(f)(2)(A).

        Finally, Plaintiff is ADVISED that he is under a continuing obligation to keep the

 Clerk of Court and each opposing party informed of any change in his address; the Court will not

 independently investigate his whereabouts. This shall be done in writing and not later than

 7 days after a transfer or other change in address occurs. Failure to comply with this order will

 cause a delay in the transmission of court documents and may result in dismissal of this action

 for want of prosecution. See FED. R. CIV. P. 41(b).

        IT IS SO ORDERED.

        DATED: March 21, 2017

                                                       ___________________________
                                                       NANCY J. ROSENSTENGEL
                                                       United States District Judge




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